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                                    UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

 STATE OF TEXAS,                            )
   Plaintiff,                               )
                                            )
 v.                                         )                      CASE NO. 4:24-cv-00941
                                            )
 COLONY RIDGE, INC.; COLONY                 )
 RIDGE DEVELOPMENT, LLC;                    )
 COLONY RIDGE BV, LLC; COLONY               )
 RIDGE LAND, LLC; T-REX                     )
 MANAGEMENT, INC.; JOHN HARRIS;             )
 HOUSTON EL NORTE PROPERTY                  )
 OWNERS ASSOCIATION, INC.; and              )
 CH&P MANAGEMENT LLC,                       )
    Defendants.                             )
____________________________________________)

               AGREED MOTION FOR ENTRY OF CONFIDENTIALITY ORDER

          Plaintiff, the State of Texas (“Plaintiff”), requests that the Court enter the attached proposed

Confidentiality Order (Exhibit A, “Order”). The Court has broad discretion when determining

whether to issue a protective order and what degree of protection is required. Seattle Times Co. v.

Rhinehart, 467 U.S. 20, 36 (1984). Pursuant to Federal Rule of Civil Procedure 26(c), the Court

“may, for good cause, issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.”

          Plaintiff and Defendants Colony Ridge, Inc., Colony Ridge Development, LLC, Colony

Ridge BV, LLC, Colony Ridge Land, LLC, T-Rex Management, Inc., John Harris, Houston El

Norte Property Owners Association, Inc., and CH&P Management LLC (collectively,

“Defendants,” and collectively with Plaintiff, the “Parties”) anticipate that documents, testimony,

or information containing confidential information are likely to be disclosed or produced during

the course of discovery in this case and that an order setting forth conditions for treating, obtaining,

maintaining, and using such information is therefore warranted.

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          Accordingly, the Parties respectfully request that the Court enter the attached Order.

DATED: August 23, 2024

Respectfully submitted,

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Attorney General of Texas

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First Assistant Attorney General

RALPH MOLINA
Deputy First Assistant Attorney General

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THE STATE OF TEXAS

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                                         CERTIFICATE OF CONFERENCE

          Pursuant to Local Rule 7.1, counsel for Plaintiff has conferred with counsel for Defendants.

Defendants consent to the entry of the attached Order.


                                                      s/ Richard Berlin
                                                      RICHARD BERLIN


                                              CERTIFICATE OF SERVICE

          Pursuant to Federal Rule of Civil Procedure 5(a), I hereby certify that on August 23, 2024,

a true and correct copy of the foregoing was served using the Court’s electronic filing system to

the following:

          Quentin Tate Williams                                   Judd E. Stone II
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          Philip Harlan Hilder                                    Ari Cuenin
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                                                      s/ Richard Berlin
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